

Treskas v Style &amp; Care, Inc. (2025 NY Slip Op 01970)





Treskas v Style &amp; Care, Inc.


2025 NY Slip Op 01970


Decided on April 2, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
WILLIAM G. FORD
HELEN VOUTSINAS
CARL J. LANDICINO, JJ.


2021-08422
 (Index No. 709446/18)

[*1]Omorfoula Treskas, respondent, 
vStyle &amp; Care, Inc., et al., defendants, Persi Contracting Corp., et al., appellants (and a third-party action).


Gallo Vitucci Klar LLP, New York, NY (Sean R. Hutchinson of counsel), for appellants.



DECISION &amp; ORDER
In an action, inter alia, to recover damages for breach of contract, the defendants Persi Contracting Corp. and Michael Persichilli appeal from an order of the Supreme Court, Queens County (Timothy J. Dufficy, J.), entered October 15, 2021. The order denied those defendants' motion pursuant to CPLR 3211(a)(7) to dismiss the second amended complaint insofar as asserted against them.
ORDERED that the appeal is dismissed as academic, without costs or disbursements.
The appeal must be dismissed as academic in light of our determination on a related appeal (see Treskas v Style &amp; Care, Inc., ___ AD3d ___ [Appellate Division Docket No. 2021-01672; decided herewith]).
BARROS, J.P., FORD, VOUTSINAS and LANDICINO, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








